                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA                       )
                                               )
                v.                             ) CRIMINAL INFORMATION
                                               )
SHANE ANTHONY ROOKS ,                          )
JASON MATTHEW TODD,                            )
JOSEPH H. WADDELL                              )



The United States Attorney charges:

      1.        From on or about December 1, 2017, and continuing until on or about

March 20, 2020, in the Eastern District of North Carolina, the defendants, SHANE

ANTHONY ROOKS , JASON MATTHEW TODD, and JOSEPH H. WADDELL,

knowingly and willfully conspired and agreed together and with each other to commit

offenses against the United States, that is,

      a.        to embezzle, steal, obtain by fraud, or otherwise without authority

knowingly convert to the use of any person other than the rightful owner, and

intentionally misapply property worth at least $5,000 and owned by and under the

care, custody, and control of an organization receiving benefits in excess of $10,000

from Medicare in the one-year period beginning March 20, 2020, the defendants being

agents of such organization, in violation of Title 18, United States Code , Section

666(a)(l)(A).
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                       Manner and Means of the Conspiracy

      2.     It was part of the conspiracy that the defendants, who were employees

of a hospital in the Eastern District of North Carolina, fraudulently used the

hospital's funds to purchase cryptocurrency mining equipment for their personal use.

Without authorization to do so, the defendants installed and ran this cryptocurrency

mining equipment and other personally procured cryptocurrency mining equipment

on the hospital's vendor network, using the hospital's power.   This cryptocurrency

mining operation earned cryptocurrency for the defendants.

                                      Overt Acts

      3.     In furtherance of the conspiracy and to effect its unlawful object, the

defendants committed and caused to be committed the following overt acts in the

Eastern District of North Carolina:

           a. In or around December 2017, SHANE ANTHONY ROOKS and JASON

MATTHEW TODD discussed cryptocurrency mining equipment JASON MATTHEW

TODD was running on the hospital vendor network, and SHANE ANTHONY ROOKS

agreed to try running cryptocurrency mining equipment on the hospital vendor

network as well.

           b. In or between January 2018 and July 2018, SHANE ANTHONY ROOKS

and JASON MATTHEW TODD discussed cryptocurrency mining on the hospital

vendor network with JOSEPH H . WADDELL, and he agreed to try runnmg

cryptocurrency mining equipment on the hospital vendor network.


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           c. Between in or around Decemb er 2017 and March 2020, SHANE

ANTHONY ROOKS u sed the hospital's purchasing syste m to acquire approximately

$39,025.50 worth of cryptocurrency mining equipment using hospital funds,

including:

                      1.   The purchase of 16 graphics cards on or about January 5, 2018

                           for approximately $9,175.68;

                     11.   The purchase of 16 graphics cards on or about June 8, 2018 for

                           approximately $9,584.00;

                    m. The purchase of three power supplies on or about April 19,

                           2019 for approximately $1 ,384.95; and

                     1v. The purchase of two power supplies on or about September 26,

                           2019 for approximately $969.58;

      d.       Between in or around December 2017 and March 2020, SHANE

ANTHONY ROOKS , JASON MATTHEW TODD , and JOSEPH H . WADDELL

installed the cryptocurrency mining equipment on the hospital's vendor network;

      e.       Between in or around December 2017 and March 2020, SHANE

ANTHONY ROOKS , JASON MATTHEW TODD , and JOSEPH H . WADDELL

received cryptocurrency at respective Coinbase cryptocurrency accounts as a result

of the operation of the cryptocurrency mining equipment installed on the hospital's

vendor network.

      All in violation of Title 18, United States Code, Section 371.


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                                    FORFEITURE NOTICE

       Notice is hereby given that all right, title and interest in the property described

h erein is subject to forfeiture.

       Upon conviction of any felony violation of the monetary transaction offenses

charged herein, the defendant shall forfeit to the United States, pursuant to 18 U.S.C.

§ 982(a)(7), any property, real or personal, that constitutes or is derived, directly or

indirectly, from gross proceeds traceable to the commission of the said offense.

       The forfeitable property includes, but is not limited to, the following:

       Forfeiture Money Judgment:

   a) A sum of money representing the gross proceeds of the offense(s) charged

       herein against SHANE ANTHONY ROOKS, in the amount of at least

       $12,278.43.

   b) A sum of money representing the gross proceeds of the offense(s) charged

       herein against JASON MATTHEW TODD, in the amount of at least $6,308.46.

   c) A sum of money representing the gross proceeds of the offense(s) charged

       herein against JOSEPH H. WADDELL, in the amount of at least $4,008.26.

       If any of the above-described forfeitable property, as a result of any act or

omission of a defendant: cannot be located upon the exercise of due diligence; has

been transferred or sold to , or deposited with, a third party; has been placed beyond

the jurisdiction of the court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty; it is the

intent of the United States, pursuant to Title 21 , United States Code, Section 853(p) ,
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to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property described above.



MICHAEL F. EASLEY, JR.
United States Attorney



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   ;EDFORD M. DEVOE
                            -
Assistant United States Attorney




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